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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

BROIDY CAPITAL MANAGEMENT, LLC and
ELLIOTT BROIDY
                    Plaintiffs,

       v.                                                  Civil Action No. 1:19-cv-00150-DLF

NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC
                      Defendants.

                  MEMORANDUM IN SUPPORT OF DEFENDANTS’
                 EMERGENCY MOTION FOR A PROTECTIVE ORDER

       Defendants Nicolas D. Muzin and Stonington Strategies LLC (together, “Stonington

Defendants”), Joseph Allaham, and Gregory Howard (collectively, “Defendants”), by counsel and

pursuant to Federal Rule of Civil Procedure 26(c)(1), submit this Memorandum in Support of their

Emergency Motion for a Protective Order. The proposed protective order is attached to the

concurrently filed Motion as Exhibit A.

                                       INTRODUCTION

       The need for a protective order in this case cannot be seriously disputed. In a previous

iteration of the litigation, the District Court for the Central District of California entered a

protective order (“California Protective Order”)—over the objection of Plaintiffs Elliott Broidy

and Broidy Capital Management, LLC (together, “Broidy”)—because third-party subpoenas had

resulted in the production of documents and information subject to the rights of the State of Qatar

(“Qatar”) on grounds of foreign sovereign immunity, the Vienna Convention on Diplomatic

Relations and the Vienna Convention on Consular Relations, as well as confidential and personal

information from the Stonington Defendants and Defendant Allaham (then a third party). See Ex.

1 at 1 (Protective Order, Broidy Cap. Mgmt. LLC v. Qatar, No. 2:18-cv-2421 (C.D. Cal. Nov. 2,
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2018) (“California Litigation”), ECF No. 185-1). When, following dismissal of his California

case, Broidy ultimately challenged Qatar’s designations under the California Protective Order for

no other purpose than to make those materials public, the Central District of California found, after

an in camera review, that the documents and testimony at issue “contain[ed] or comprise[d]”

information “relat[ed] to the conduct by Qatar of its foreign policy” and should be subject to an

attorneys’ eyes only designation. Order at 1, California Litigation, ECF No. 242.

       The exact same issues—indeed, some of the exact same documents and information—are

at issue here. Many of the materials that the Central District of California held were subject to the

California Protective Order—including materials subject to an attorneys’ eyes only designation—

had been produced to Broidy by Defendant Allaham when he was a third party, and they included

communications with the Stonington Defendants. There is no question that those and similar

materials will be sought here, both from Defendants and third parties. Indeed, those materials

appear to be covered by Broidy’s initial discovery requests. See Exs. 2, 3 (discovery requests).

And although they are barred by the California Protective Order from receiving these materials,

Broidy’s current counsel (his fourth in these litigations) has demanded production here of

documents that remain under-seal from the California Litigation.

       In light of this history and law of the case, as well as the D.C. Circuit’s recognition that

Qatar’s sovereign immunity should be protected as discovery moves forward in this case, see

Broidy Capital Management LLC, et al. v. Muzin, et al., 12 F.4th 789, 804 (D.C. Cir. 2021) (finding

that the District Court “has the appropriate tools to protect Qatar’s absolute FSIA ‘immunity from

trial and the attendant burdens of litigation’” (citation omitted)), Defendants sent the proposed

protective order to Broidy (then represented by his third set of lawyers) on November 4, 2021—

just days after the parties’ first meet-and-confer and in advance of the parties’ Rule 26(f)



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conference. The proposed protective order incorporates all of the provisions from the California

Protective Order and also adds additional protections that recognize the sensitive information

involved in this case and facilitate an orderly process for both making and challenging

designations. Despite Defendants’ request for a redline and offer to discuss the draft at the Rule

26(f) conference, Broidy has yet to provide any serious feedback to the proposal. Instead, he has

rejected Defendants’ proposal for an interim attorneys’ eyes only designation for use while the

parties negotiate the terms of a protective order.

       Prior to 4:30pm on the Wednesday before Thanksgiving, Broidy’s immediately prior

counsel had indicated to Defendants that they were still reviewing the terms of the protective order

in good faith. The parties had discussed an interim policy to protect sensitive information while

they discussed the details of the order (and potentially sought court review under a standard

schedule), and Broidy’s immediately prior counsel had agreed not to serve third-party subpoenas

during discussions of the interim policy. But when current counsel joined the case—of which

Defendants first became aware of on November 22 when Broidy filed his motion to extend the

deadline to submit a Rule 16 report—their first move was to demand production of under-seal

documents, to which they are not entitled under the California Protective Order, and serve a third-

party subpoena on the eve of the Thanksgiving holiday with a return date of December 15, 2021.

       Given these events, it is clear that Broidy no longer has any intention of negotiating the

terms of the protective order in good faith. And given his history of leaking sensitive documents

and violating confidentiality protections, Defendants have no choice but to seek emergency relief

to ensure that a protective order is in place before third parties start producing documents. Indeed,

the last time Broidy received third-party discovery in the absence of a protective order, he promptly

leaked Defendant Muzin’s and Defendant Allaham’s personal phone records to the press solely to



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embarrass them. Broidy later filed documents covered by attorneys’ eyes only protections on the

public docket in that case. And he publicly filed an initial version of his complaint here in violation

of the California Protective Order.

       Put simply, Broidy’s past behavior demonstrates that he cannot be trusted to obtain

sensitive documents or information without a protective order. And undersigned counsel expressly

stated as much to Broidy’s immediately former counsel on November 8 in the Rule 26(f)

conference.   Defendants further warned Broidy’s then counsel that Defendants would seek

emergency relief if Broidy started serving third-party subpoenas. Prior counsel agreed not to do

so but Broidy and present counsel evidently believe otherwise, necessitating this motion.

                                         BACKGROUND

       As this Court is well aware, Broidy’s First Amended Complaint (“FAC”), ECF No. 18-2,

broadly accuses Qatar of orchestrating and directing an elaborate operation to hack Broidy’s

computers and disseminate documents to the media. Because the Ninth Circuit has already held

that Qatar is immune from suit for the actions alleged by Broidy, see Broidy Capital Management,

LLC v. Qatar, 982 F.3d 582 (9th Cir. 2020), Broidy seeks discovery here from Defendants and

myriad third parties into Qatar’s diplomatic activities. The California Litigation leaves no doubt

that this is the case. And yet, Broidy appears intent in pursuing discovery before a protective order

is in place, rather than negotiate one in good faith.

I.     THE CALIFORNIA PROTECTIVE ORDER

       The history of the California Protective Order demonstrates why this Court should

immediately enter Defendants’ similar proposed protective order here.            Having reached an

agreement with the parties in the California Litigation to seek only third-party discovery pending

motions to dismiss, Broidy immediately served over eighty third-party subpoenas to various

alleged agents of Qatar and telecommunications companies, received thousands of pages of

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document productions, and deposed Defendant Allaham as a third party, all before dismissal of

the California Litigation.    Among the documents obtained directly from Allaham were

communications with the Stonington Defendants. As the Central District of California ultimately

held, many of the materials provided in response to Broidy’s third-party discovery involved

Qatar’s foreign policy, including diplomatic communications protected by the Vienna Convention

on Diplomatic Relations. See California Litigation, ECF No. 242 (rejecting Broidy’s motion

challenging Qatar’s confidentiality designations).

       Broidy’s California discovery also included Defendant Muzin’s personal phone records.

In the midst of the discovery barrage, and before a protective order was in place, Broidy leaked

those records—which were obtained from Broidy’s third-party subpoena to AT&T and marked by

AT&T as “Proprietary” and “not for general distribution”—to the news media for no reason other

than to embarrass Muzin. See Ex. 4 (Letter from S. Obermeier to L. Wolosky, June 14, 2018).

And Broidy’s plan worked. Multiple news sources—likely paid by Broidy—published hit pieces

against Muzin based on his phone records. See id. (attaching articles). Broidy further ignored

provisional attorneys’ eyes only designations ordered by the Southern District of New York,

publishing on the docket various protected and sensitive documents also obtained via third-party

subpoena. See California Litigation, ECF No. 141 at 2 (discussing Broidy’s public filing of

protected information).

       To prevent future leaks, and to protect Qatar’s privileged diplomatic communications from

a similar fate, the California defendants sought a protective order. California Litigation, ECF No.

184. The proposed order included a “Highly Confidential—Attorneys’ Eyes Only” designation

for Qatar’s highly sensitive and inviolable diplomatic and consular documents that had already

been produced by third parties. Ex. 1 at 5, 8. It also provided for an initial period following all



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productions by third parties where materials would be treated as “Highly Confidential—Attorneys’

Eyes Only” to allow Qatar to review and appropriately designate its sovereign materials. Id.

Indeed, that initial designation was critical to providing some measure of after-the-fact protection

for Qatar’s privileges and immunities, given that it could not review documents or information

from third parties in advance of production. 1

       Although Broidy opposed the proposed order, seeking to narrow it substantially to

maximize his ability to immediately publish information obtained in discovery, see California

Litigation, ECF No. 185-2 at 11, the Central District of California ultimately adopted the proposed

protective order in full. California Litigation, ECF No. 210. And when Broidy later sought to

make certain of the discovery materials public following dismissal notwithstanding attorneys’ eyes

only designations by Qatar, the Central District of California reviewed those materials in camera

and found that the documents and testimony at issue “contain[ed] or comprise[d]” information

“relat[ed] to the conduct by Qatar of its foreign policy.” California Litigation, ECF No. 242. In

other words, the Court rejected Broidy’s arguments that there had been improper designations.

II.    DEFENDANTS’ PROPOSED PROTECTIVE ORDER

       Not surprisingly, Broidy intends to use the same discovery playbook here. He started this

case by violating the California Protective Order, improperly including in his initial Complaint

materials covered by that Order and filing certain protected information on the public docket. See

ECF Nos. 1; 11 (seeking to redact protected information revealed in the Complaint). He then




1
  Documents and information pertaining to Qatar’s diplomatic and consular activities are
absolutely protected from discovery under the Vienna Convention on Diplomatic Relations and
the Vienna Convention on Consular Relations. See infra at 13. Given that some such material
was not identified until after it was produced by third parties, these provisions in the California
Protective Order provided an important fallback protection to limit the dissemination of immune
materials to the greatest extent possible.
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sought—and was denied—expedited third-party subpoenas to multiple alleged agents of Qatar and

an unknown number of telecommunications providers, see ECF No. 19, demonstrating that he

again intends to seek information from third parties that is likely subject to Qatar’s privileges and

immunities. And in case there is any doubt, following issuance of the mandate on remand, Broidy

has served discovery on each Defendant, requesting information about Qatar, its diplomatic

mission, and Defendants’ FARA-reported work for Qatar. 2 See, e.g., Exs. 2, 3 (discovery

requests). 3 It is thus simply not credible to contend, as Broidy apparently does, that this case will

not involve documents and information that are subject to Qatar’s privileges and immunities, as

the D.C. Circuit recognized. See Broidy, 12 F.4th at 804 (finding that the District Court “has the

appropriate tools to protect Qatar’s absolute FSIA ‘immunity from trial and the attendant burdens

of litigation’” (citation omitted)). 4

        For these reasons, Defendants’ proposed protective order adopts the California Protective

Order in its entirety. The proposed order includes the provision that all materials produced would

be subject to a temporary “Attorneys’ Eyes Only” (“AEO”) restriction after production to allow




2
  This case likely also implicates foreign sovereign immunity concerns for Broidy regarding his
work for the United Arab Emirates and the Kingdom of Saudi Arabia. See California Litigation,
ECF No. 1 ¶¶ 5–6.
3
  Documents requests to Defendants Muzin and Allaham are attached as examples. Broidy has
also served materially similar document requests on Defendant Howard, as well as Interrogatories
and Requests for Admissions on Defendants Muzin, Allaham, and Howard regarding the same
topics.
4
  Indeed, Broidy repeatedly assured this Court and the D.C. Circuit during briefing on the
derivative sovereign immunity issue that this Court would have plenty of options to oversee
discovery to assure that Qatar’s privileges and immunities are not violated. See Broidy Reply in
Support of Mot. to Dismiss at 8, Broidy Cap. Mgmt., LLC v. Muzin, No. 20-7040 (D.C. Cir. June
8, 2020) (“If disputes arise during discovery, the district court will be well positioned to resolve
them with normal tools of discovery management.”); Appellee Br. at 18 (Nov. 20, 2021) (“Any
incidental burden on [Qatar’s] interests can be mitigated by the district court, using the ordinary
tools of discovery and trial management.”); id. at 54 (“The district court can prevent any undue
burden on Qatar using the ordinary rules of discovery and trial.”).
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time for appropriate designation. 5 Ex. 1 at 8. Further, the proposed protective order would also

establish an “Immunity Protocol,” so that the invoking party would have an opportunity to review

subpoenaed materials before the requesting party’s receipt if the subpoena seeks or implicates

materials protected by the Vienna Conventions. 6 See Ex. A at 15–17. And, due to the potential

for far-flung discovery proceedings and the risk of inconsistent rulings on issues of Vienna

Convention protections, the proposed protective order includes a jurisdictional provision noting

the parties’ intention that all discovery disputes be heard by this Court. See id. at 5–6.

       Recognizing these issues, and in response to communications by Broidy that he intended

to launch discovery at the earliest opportunity, see Ex. 5 at 11 (email from M. Francisco to S.

Obermeier, Oct. 25, 2021 (asserting that he was “motivated” to have the Rule 26(f) conference at

the earliest available date and that there was “no reason” to delay)), Defendants have diligently

sought to obtain Broidy’s agreement on a protective order without court intervention. Indeed,

given the history of the California Protective Order, Defendants believed that the parties would be

able to agree on such an order with relative ease. 7 To that end, during the court-ordered meet-and-

confer regarding scheduling, Defendants flagged the protective order issue and stated their intent

to provide a draft shortly thereafter. A few days later, on November 4, Defendants circulated the




5
  This provision is relevant for materials produced by third parties. The parties will of course
assert privilege or designate materials before production, but as Defendants learned from the
California Litigation, third parties may possess sensitive or confidential materials over which the
parties (or interested non-parties) will be required to assert the relevant privilege or protections.
6
  This provision was crafted because of proceedings in the California Litigation, in which Broidy
obtained materials subject to Vienna Convention protection by third-party subpoenas. See Order,
Broidy Capital Mgmt. LLC v. Allaham, No. 1:18-mc-240 (June 6, 2018), ECF No. 1. This
provision is even more necessary in this action where Qatar (who was a party in the California
Litigation) is not a party and will have no other mechanism through which to protect its sovereign
and diplomatic materials in third-party productions before Broidy’s receipt.
7
  Given Broidy’s close relationship to Qatar’s rival, the United Arab Emirates, Defendants
assumed that Broidy would welcome similar privileges and immunity protections.
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proposed protective order, noting that it largely resembled the California Protective Order and

seeking redlines before the November 8 Rule 26(f) conference. See Ex. 6 (email from W. Lane to

B. Spears, Nov. 4, 2021).

       Broidy, however, failed to provide redlines and was not prepared to discuss any specific

provisions of the proposed protective order during the Rule 26(f) conference. 8 In response,

Defendants made clear the importance of the protective order—particularly in light of Broidy’s

previous leaks—and stated that if Broidy began serving third-party subpoenas, Defendants would

have no choice but to file an emergency motion. Defendants also offered to agree to an interim

period during which all third-party productions would be subject to attorneys’ eyes only protection

while the parties negotiated the protective order and sought court intervention as necessary. Of

course, this is precisely what the California Protective Order had established. Broidy agreed to

promptly respond to Defendants on the draft order and interim offer.

       Rather than providing any feedback on the order itself, on November 11, 2021, Broidy

rejected Defendants’ interim offer. Ex. 8 (letter from G. Terwilliger to S. Obermeier et al., Nov.

11, 2021). Specifically, counsel for Broidy claimed that he saw “no basis for an AEO designation

in this case”—effectively rejecting the proposed protective order—and proposed that materials

might be designated as only “Confidential” pending entry of a protective order.          Id. at 2.

Defendants promptly responded that such limited interim agreement was not acceptable given the

history of the case. Ex. 9 (email correspondence between G. Terwilliger and S. Obermeier, Nov.

11–15, 2021). The proposal was also contrary to the terms of the California Protective Order.




8
  On November 7, Broidy asked the Stonington Defendants to provide various under seal filings
from the California Litigation. The Stonington Defendants responded almost immediately on that
Sunday, noting that they were never served with those documents and do not have access to them.
See Ex. 7 (email correspondence between T. Steggerda and S. Obermeier, Nov. 7–8, 2021).
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Nonetheless, Broidy acknowledged that he did not intend to send any third-party subpoenas in the

interim while the parties continued to negotiate. Id. at 1.

       To date, Broidy has still failed to provide any redlines or substantive response to

Defendants’ proposed protective order. Instead, on the eve of its due date, Broidy asked for

agreement to extend the Court-ordered deadline for the Rule 16 report.             Ex. 10 (email

correspondence between W. Lane and M. Francisco, Nov. 18–19, 2021). Defendants agreed not

to oppose the request. See id. Despite exchanging multiple emails regarding the extension motion,

Defendants did not become aware that Broidy was switching counsel until the motion was filed

late in the day on November 22, 2021. See ECF No. 80.

       Before even noting an appearance, Broidy’s new counsel demanded that Defendants turn

over under-seal materials from the California Litigation before they would consider the proposed

protective order—even though Broidy’s new counsel had not entered an appearance in the

California Litigation and are not entitled to such documents. See Ex. 11 at 1 (email correspondence

between D. Schultz and S. Obermeier, Nov. 23–24, 2021). In any event, it appears that no

Defendant possesses those filings, and redacted versions of the materials are publicly available.

Id. Broidy’s new counsel also rejected the use of any interim attorneys’ eyes only protections,

stating that he would only “discuss AEO protection on a document-by-document basis.” Id. at 2.

Less than twenty-four hours later—without waiting for any response from Defendants and contrary

to previous counsel’s representation that Broidy would not serve third-party subpoenas during

negotiations—Broidy issued a third-party subpoena to Verizon with a response deadline of

December 15, 2021. Ex. 12 (subpoena).

                                          ARGUMENT

       Federal Rule of Civil Procedure 26(c)(1) provides that a “court may, for good cause, issue

an order to protect a party or person from annoyance, embarrassment, oppression, or undue burden
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or expense, including” “(B) specifying terms . . . for the disclosure or discovery” or (G) “requiring

that trade secret or other confidential research, development, or commercial information . . .be

revealed only in a specified way.” “[G]ood cause” exists here because, absent a protective order,

the parties would have to litigate repeatedly appropriate protections for sensitive and confidential

information.

       Absent a protective order, there is nothing to prevent the release of sensitive and

confidential information produced to the public. Discovery is intended to assist the parties and the

Court to resolve litigation; it is not designed to provide the public with information that would

otherwise be private. See Huthnance v. District of Columbia, 255 F.R.D. 285, 288 n.3 (D.D.C.

2008) (citing Richard L. Marcus, A Modest Proposal: Recognizing (at Last) That the Federal Rules

Do Not Declare That Discovery Is Presumptively Public, 81 CHI.-KENT L. REV. 331 (2006)).

       The Court should enter Defendants’ proposed protective order. Defendants’ proposed

protective order appropriately addresses each concern noted above.          The safeguards in the

proposed protective order are reasonable and no less necessary here than they were in the

California Litigation. Further, the new provisions in Defendants’ proposed protective order

address key concerns discovered in the California Litigation that are likely to manifest again here.

       The Court should enter the proposed protective order immediately. After sitting on the

proposed protective order for weeks and initially agreeing to withhold third-party subpoenas while

the parties negotiated the protective order’s terms, Broidy began launching third-party subpoenas

the night before Thanksgiving. The first subpoena has a return date of December 15, 2021. Given

what happened previously in California, the Court should ensure that an order is in place before

third-party productions begin and Broidy has access to Qatar’s privileged material or otherwise

seeks to leak confidential information to the press. Emergency relief is appropriate when, like



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here, the harm presented is imminent and the parties do not have time to brief the matter in the

normal course before the event sought to be prevented by the protective order takes place. See,

e.g., Doe ex rel. Doe v. District of Columbia, 232 F.R.D. 4, 5 (D.D.C. 2005).

I.     DEFENDANTS’ PROPOSED PROTECTIVE ORDER INCLUDES ALL PROVISIONS THAT WERE
       APPROVED IN THE CALIFORNIA LITIGATION.

       Defendants’ proposed protective order incorporates all substantive provisions from the

California Protective Order. Of particular note, Defendants’ proposed protective order establishes

both “Confidential” and “Highly Confidential – AEO” designations: the very same categories used

in the prior litigation. See Ex. 1 at 4–5. At the same time, the protective order provides that

designations are to be applied in a targeted fashion, so as not to unduly hamper the use of produced

material. Mass, blanket, indiscriminate, or routinized designations are prohibited by Defendants’

proposed protective order and subject to appropriate sanctions. See Ex. A at 6.

       Further, like the California Protective Order, Defendants’ proposed protective order

provides that all produced materials must be treated as attorneys’ eyes only for an initial period

following production to allow the appropriate designations to be applied. See id. at 7 (“all Parties

and Non-Parties shall have thirty (30) business days from date of entry of this Order to designate

as ‘CONFIDENTIAL’ or ‘HIGHLY CONFIDENTIAL – AEO’ any Disclosure or Discovery

Material produced to date”). Without this provision, materials could be improperly shared before

the appropriate party has a chance to designate them.

       Additionally, because disputes will inevitably arise, Defendants’ proposed protective order

contains a procedure by which the parties may resolve disagreements over confidentiality and

privilege designations. See id. at 10–11. Such a provision will ensure that the parties resolve

disputes efficiently and will reduce the need for this Court’s involvement in discovery.




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       Broidy cannot seriously dispute these protections. The California court adopted these

protections after observing Broidy’s discovery conduct and reviewing discovery material in

camera. Indeed, materials regarding Qatar’s sovereign functions are subject to the highest

protections. Discovery materials are absolutely protected from disclosure under the Vienna

Conventions, which provide that the documents of a diplomatic mission are inviolable “at any time

and wherever they may be.” 9 Vienna Convention on Diplomatic Relations, art. 24, Apr. 18, 1961,

23 U.S.T. 3227, 500 U.N.T.S. 95, 108; see also Vienna Convention on Consular Relations and

Optional Protocol on Disputes, art. 33, Apr. 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261, 289

(providing the same inviolability for consular archives); see also California Litigation, ECF No.

80 (detailing protections for documents of a diplomatic mission). The Ninth Circuit has also

determined that Qatar is immune from suit. See Broidy Cap. Mgmt., 982 F.3d 582. That means

not only that Qatar has “immunity from trial” but also from “the attendant burdens of litigation.”

Kilburn v. Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004)

(quoting Jungquist v. Sheikh Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1026 (D.C. Cir. 1997)).

Thus, while documents and information subject to the Vienna Conventions should not be produced

in the first place, the California Protective Order recognizes that where such material is identified

only after it has been produced, the material is appropriately subject to the highest level of

confidentiality protection.




9
  As one commentator has put it, it is “clear beyond argument” that this includes documents “not
on the premises of the mission and not in the custody of a member of the mission”—i.e., documents
in the hands of third parties involved in Qatar’s diplomatic work. Eileen Denza, Diplomatic Law:
Commentary on the Vienna Convention on Diplomatic Relations 158 (4th ed. 2016). As a result,
many documents sought by Broidy, if they touch on Qatar, will be protected from production
entirely.
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        That the same provisions are necessary here is not even a close call. Broidy has already

sought to introduce (and obtain) in this case materials that were designated as “Confidential” and

attorneys’ eyes only under the California Protective Order. See ECF Nos. 11; 19-1 (seeking

production of materials produced in California Litigation). Using the same protections as those in

the California Protective Order avoids the risk of inconsistent confidentiality designations across

courts, and reasonably protects the California parties’ (and non-parties’) interests in preserving

sensitive, confidential material. Further, mechanisms such as these, besides others in the proposed

protective order, will expedite the flow of information, facilitate the prompt resolution of disputes

over confidentiality of discovery materials, adequately protect information the Parties have a right

to keep confidential, ensure that the Parties are permitted reasonably necessary uses of such

material in preparation for and in the conduct of trial, address their handling at the end of the

litigation, and serve the ends of justice.

II.     NEW PROTECTIVE ORDER PROVISIONS ARE NECESSARY TO PREVENT DISCLOSURE IN
        THE FIRST PLACE OF MATERIALS SUBJECT TO QATAR’S PRIVILEGES AND IMMUNITIES.

        Defendants’ proposed protective order also incorporates new necessary provisions. The

California Litigation made clear that additional protections related to third-party discovery were

needed, as materials sought from non-parties (1) included diplomatic materials subject to

protection under the Vienna Conventions, and (2) would have required the California defendants

to file many repeated and burdensome discovery motions to protect their interests.

        First, the protective order includes an “Immunity Protocol” to protect materials implicating

Qatar’s immunity interests. This protocol allows the invoking party to review and designate

materials produced by third parties that may implicate Qatar’s sovereign interests before such

materials are produced to Broidy. Such a procedure has already been adopted by this Court in a

different case where productions by third parties may include highly sensitive materials subject to


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a claim of privilege. See Stip. Protective Order at 4–5, Citizens for Resp. & Ethics in Washington

v. Am. Action Network, Case No. 1:18-cv-945 (D.D.C. May 20, 2020), ECF No. 45 (addressing

materials protected by the First Amendment). Such a procedure is particularly necessary here, as

Broidy has already used third-party discovery to obtain access to Qatar’s diplomatic materials that

Qatar would not otherwise have been required to produce. See Letter, Broidy Capital Mgmt. LLC

v. Allaham, No. 18-mc-240 (June 8, 2018), ECF No. 2. 10 And because Qatar is not a party to the

present suit (as it was in the California Litigation), the proposed Immunity Protocol allows Qatar

to review and designate third-party materials that are produced here, thereby mitigating the risk

that documents and information protected by the Vienna Conventions will be produced without

any confidentiality protection and publicly leaked by Broidy.

       Second, Defendants’ proposed protective order contains a jurisdictional provision stating

the intention that all discovery-related motions practice be heard by this Court. As third-party

discovery motions practice must typically be brought in the jurisdiction where discovery materials

are located, see Federal Rule of Civil Procedure 45(c), (d)(3), this provision enables the Parties to

move any far-flung discovery motions practice back to this Court. A single location for discovery

motions practice is preferable to prevent inconsistent rulings, particularly on important issues of

diplomatic and sovereign immunity, and to ensure efficient review of any disputes. Further, this

Court is the appropriate jurisdiction to hear such matters, as the Court has already engaged in a

detailed review of the factual allegations and is familiar with the various interests in this case.




10
   An “Immunity Protocol” was not an option in the California Litigation, because third-party
discovery was already in full force, and all defendants had been dismissed, by the time the Court
entered the California Protective Order. At that point, the parties were most concerned about
designating materials that had already been produced as more productions were unlikely.
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                                      CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ Emergency Motion for a

Protective Order, enter Defendants’ proposed protective order, and grant such other relief as

appropriate.



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 Charles S. Fax                            /s/ Stephen J. Obermeier
 RIFKIN WEINER LIVINGSTON LLC              Stephen J. Obermeier (D.C. Bar # 979667)
 7979 Old Georgetown Road, Suite 400       sobermeier@wiley.law
 Bethesda, MD 20814                        Rebecca Saitta (D.C. Bar # 488110)
 cfax@rwlls.com                            rsaitta@wiley.law
                                           Rebecca Fiebig (D.C. Bar # 976854)
 Liesel J. Schopler                        rfiebig@wiley.law
 RIFKIN WEINER LIVINGSTON LLC              Krystal B. Swendsboe (D.C. Bar # 1552259)
 225 Duke Of Gloucester Street             kswendsboe@wiley.law
 Annapolis, MD 21401                       WILEY REIN LLP
 lschopler@rwlls.com                       1776 K Street NW
                                           Washington, DC 20006
 Jeffrey A. Udell                          Phone: (202) 719-7000
 Adam P. Cohen                             Facsimile: (202) 719-7049
 Jacob Gardener
 WALDEN MACHT & HARAN LLP                  Counsel for Defendants Stonington Strategies
 250 Vesey Street, 27th Floor              LLC and Nicolas D. Muzin
 New York, NY 10281
 judell@wmhlaw.com                         Randall A. Brater
 acohen@wmhlaw.com                         ARENT FOX LLP
 jgardener@wmhlaw.com                      1717 K Street NW
                                           Washington, DC 20006
 Counsel for Defendant Gregory Howard      randall.brater@arentfox.com

                                           Eric Roman
                                           Mohammed T. Farooqui
                                           ARENT FOX LLP
                                           1301 Avenue of the Americas, Floor 42
                                           New York, NY 10019
                                           eric.roman@arentfox.com
                                           mohammed.farooqui@arentfox.com

                                           Counsel for Defendant Joseph Allaham



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